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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                        LONDON

 UNITED STATES OF AMERICA,                     )
                                               )
       Plaintiff,                              )
                                               )         No. 6:22-CR-38-REW-HAI-1
 v.                                            )
                                               )                    ORDER
 WESLEY CALHOUN,                               )
                                               )
       Defendant.                              )

                                        *** *** *** ***
       After conducting Rule 11 proceedings, see DE 199 (Minute Entry), United States

Magistrate Judge Hanly A. Ingram recommended that the undersigned accept Defendant Wesley

Calhoun’s guilty plea and adjudge him guilty of Count 1, Count 4, and the forfeiture allegation of

the Superseding Indictment. See DE 32 (Superseding Indictment); DE 201 at 2 (Recommendation

of Acceptance of Guilty Plea). Judge Ingram expressly informed Calhoun of his right to object to

the recommendation and secure de novo review from the undersigned. See DE 201 at 3. The

established, three-day objection deadline has passed, and no party has objected.

       The Court is not required to “review . . . a magistrate[ judge]’s factual or legal conclusions,

under a de novo or any other standard, when neither party objects to those findings.” Thomas v.

Arn, 106 S. Ct. 466, 472 (1985); see also Berkshire v. Dahl, 928 F.3d 520, 530 (6th Cir. 2019)

(noting that the Sixth Circuit has “long held that, when a defendant does ‘not raise an argument in

his objections to the magistrate[ judge]’s report and recommendation . . . he has forfeited his right

to raise this issue on appeal.’”) (quoting Kensu v. Haigh, 87 F.3d 172, 176 (6th Cir. 1996) (quote

brackets simplified)); United States v. Olano, 133 S. Ct. 1770, 1777 (1993) (distinguishing waiver

and forfeiture); Fed. R. Crim. P. 59(b)(2)-(3) (limiting de novo review duty to “any objection”


                                                   1
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filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).

        The Court, with no objection from any party and on full review of the record, ORDERS

as follows:

     1. The Court ADOPTS DE 201, ACCEPTS Calhoun’s guilty plea, and ADJUDGES

        Calhoun guilty of Count 1 and Count 4 of the Superseding Indictment;

     2. Further, per Judge Ingram’s recommendation, the Defendant’s agreement, and an audit of
        the rearraignment hearing, the Court provisionally FINDS that the property identified in

        the Superseding Indictment (DE 32 at 10-12) is forfeitable. Defendant has an interest in

        said property, and the Court preliminarily ADJUDGES Defendant’s interest in such

        property FORFEITED. Under Criminal Rule 32.2, and absent pre-judgment objection,

        “the preliminary forfeiture order becomes final as to” Defendant at sentencing. Fed. R.

        Crim. P. 32.2(b)(4)(A). The Court will further address forfeiture at that time. See id. at

        (b)(4)(B). Per the Plea Agreement, the forfeiture extends to Calhoun’s interest in all

        property listed in the Indictment’s forfeiture provision.

     3. The Court will issue a separate sentencing order. 1

        This the 14th day of June, 2023.




1
  Judge Ingram detained Calhoun after the plea hearing. See DE 199. This was also Calhoun’s
status entering the hearing. See DE 44. Absent an intervening order, Calhoun will remain in
custody pending sentencing.
                                                  2
